                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                            DOCKET NO. 3:07cr79

             V.                                                     ORDER

RUBEN NOYOLA GARCIA


   This MATTER is before the Court on Defendant’s Pending Motion, (Doc. No.451) Motion
to Amend/Correct(244) Presentence Investigation Report.

    Mr. Garcia seeks the “correction” of his presentence report, asserting that the report
incorrectly states that one of his offenses was punishable by a mandatory-minimum term of 10
years and up to life in prison and that he received a role -in-the-offense offense-level adjustment
of four levels. In this Court’s statement of reasons, this Court made it clear that both of Mr.
Garcia’s offenses were punishable by a mandatory-minimum of 5 years in prison and maximum
of 40 years in prison. This Court made it clear that it found that a three-offense-level upward
adjustment applied based on Mr. Garcia’s role in the offense, not a four-offense-level
adjustment. This Court did not adopt those sections of the presentence report Mr. Garcia
challenges.

   Mr. Garcia has not identified any clerical error subject to correction under Rule 36.


   IT IS ORDERED, that Defendant’s Motion (Doc. No. 451) is DENIED.



                                       Signed: October 21, 2021




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